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              DEFENDANT’S MEMORANDUM IN OPPOSITION TO
                    PLAINTIFF’S MOTION TO COMPEL

                                      Ex. D
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